              Case 24-14482-PDR   Doc 9     Filed 06/10/24        Page 1 of 1




                                          Certificate Number: 14912-FLS-DE-038544456
                                          Bankruptcy Case Number: 24-14482


                                                          14912-FLS-DE-038544456




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on June 5, 2024, at 12:54 o'clock PM EDT, Roi Neeman
completed a course on personal financial management given by internet by 001
Debtoredu LLC, a provider approved pursuant to 11 U.S.C. 111 to provide an
instructional course concerning personal financial management in the Southern
District of Florida.




Date:   June 5, 2024                      By:      /s/Jai Bhatt


                                          Name: Jai Bhatt


                                          Title:   Counselor
